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TS ee eae:
EMPLOYEE HANDBOOK

| have received a copy of the Employee Handbook for Rock-Tenn Company and its subsidiaries, including RTS Packaging, LLC
and GSD Packaging, LLC ¢“the Company”). | have read the Handbook completely and have sought clarification, as necessary,
to ensure my understanding. | further understand that the Employee Handbook is not a complete statement of the Company

policies and procedures, but is a general summary guide only.

 

| acknowledge that some of the general policies may be amended from location to location, because each state may have
different laws. As such, | understand that the Company will not enforce any general policies that are contrary to the laws of

the state in which | work.

| understand that this Employee Handbook sets out certain Company policies and practices in effect as of the date of this
publication, | understand that nothing contained in this Handbook may be construed as creating a binding contract with the
Company for employment benefits, or a promise of future employee benefits, | also understand that these policies, procedures,
guidelines and benefits are continually evaluated and may be amended, modified or terminated at any time.

| understand that no representative of the Company, other than an authorized Company officer, has any authority to enter into
any agreement for employment for any specific period of time, or any agreement for benefits, and that any such agreement
entered-into by an authorized Company officer will not be enforceable unless it is in writing.

| have read and agree to comply with the terms of this Handbook (and the attached exhibits) including specifically, but not
limited to, the Company’s Computer Resources Acceptable Use Policy. | understand that a violation of this policy, and any
other policy, and may result in disciplinary action, including possible termination, as well as civil or criminal liability.

As a condition of your continued employment, the Company requires you to comply with the terms of this Handbook
upon receipt.

Please date, sign and print your name as indicated below to acknowledge your agreement. Then, detach this page and return
it to your supervisor within 30 days of your receipt of this Handbook.

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EMPLOYEE'S SIGNATURE: DATE:

N\ che | Kul laos I.

EMPLOYEE'S NAME (printed):

 

INTERPRETER’S SIGNATURE: DATE:

  

Case 3:16-cv-02510 Document 39-13 Filed 02/26/18 Page 1 of 4 PagelD #: 789
 

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HANDBOOK ACKNOWLEDGMENT

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This Employee Handbook sets out certain company policies and practices in effect as of the date of this
publication. However, all of us recognize that we have to remain flexible in order to meet both foreign
and domestic competition, so the flexibility to change policies is important. The Handbook cannot limit
this flexibility; nothing in the Handbook may be construed as a binding contract of employment or for
any kind of employment benefits, nor as a promise or offer to contract. Instead, the Handbook's policies,
procedures, guidelines and benefits are continually evaluated and may be amended, modified or removed
at any time. Likewise, the Company's flexibility must not be limited by what people say without
authorization. Accordingly, no one may enter into any agreement nor make any assurance that modifies
the Handbook's contents except by written document signed by the Chief Executive Officer, Chief
Financial Officer, General Counsel, Treasurer or Vice President of Risk Management.

| agree to read this Handbook (and the attached exhibits). | understand that a violation of any policy may
result in disciplinary action, including possible termination, as well_as civil or criminal liability.

| agree that as a condition of my continued employment, the Company requires me to comply with the
terms of this Handbook (and the attached exhibits), as amended or modified.

Please date, sign and print your name as indicated below to acknowledge your agreement.

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EMPLOYEE’S SIGNATURE DATE

 

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EMPLOYEE’S NAME (printed) PLANT #

 

INTERPRETER’S SIGNATURE DATE

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PERSONNEL FILE COPY

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this Handbook (and the attached exhibits), as amended or modified, or | may be subject to disciplinary action up to

and including termination of employment.

Please date, sign and print your name as indicated below to acknowledge your agreement.

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EMPLOYEE’S SIGNATURE DATE

Myre) Yululsourste aA\AaB2c0
EMPLOYEE’S NAME (printed) PLANT #

INTERPRETER’S SIGNATURE IF APPLICABLE) DATE

 

INTERPRETER’S NAME (printed)

Date: 05/2011 EMPLOYEE HANDBOOK

Case 3:16-cv-02510 Document 39-13 Filed 02/26/18 Page 3 of 4 PagelD #: 791

 
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Acknowledgement Form - Employee Code of Business Conduct and Ethics

Your Personal Commitment to Compliance

| acknowledge that I have read and understand the RockTenn Employee Code of Business
Conduct and Ethics (“Code of Conduct”),

| understand that each employee, including corporate officers, of Rock-Tenn Company
and its wholly-owned direct and indirect subsidiaries and designated joint ventures is
required to comply with this Code of Conduct.

When I have a concern about a possible violation of applicable laws or RockTenn policy,
including this Code of Conduct, | will raise the concern by using the RockTenn
Compliance Hotline or by reporting the concern by any other method addressed by this

Code of Conduct.
With Ves De dronersat)
Signature
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she VU awshs
(Print your name)

Date: | ) — 0 —7)3 F

Case 3:16-cv-02510 Document 39-13 Filed 02/26/18 Page 4 of 4 PagelD #: 792
